Case 1:15-cv-02154-SCJ Document 35-1 Filed 04/05/16 Page 1 of 20




                     EXHIBIT A
Case 1:15-cv-02154-SCJ Document 35-1 Filed 04/05/16 Page 2 of 20
Case 1:15-cv-02154-SCJ Document 35-1 Filed 04/05/16 Page 3 of 20
Case 1:15-cv-02154-SCJ Document 35-1 Filed 04/05/16 Page 4 of 20
Case 1:15-cv-02154-SCJ Document 35-1 Filed 04/05/16 Page 5 of 20
Case 1:15-cv-02154-SCJ Document 35-1 Filed 04/05/16 Page 6 of 20
Case 1:15-cv-02154-SCJ Document 35-1 Filed 04/05/16 Page 7 of 20
Case 1:15-cv-02154-SCJ Document 35-1 Filed 04/05/16 Page 8 of 20
Case 1:15-cv-02154-SCJ Document 35-1 Filed 04/05/16 Page 9 of 20
Case 1:15-cv-02154-SCJ Document 35-1 Filed 04/05/16 Page 10 of 20
Case 1:15-cv-02154-SCJ Document 35-1 Filed 04/05/16 Page 11 of 20
Case 1:15-cv-02154-SCJ Document 35-1 Filed 04/05/16 Page 12 of 20
Case 1:15-cv-02154-SCJ Document 35-1 Filed 04/05/16 Page 13 of 20
Case 1:15-cv-02154-SCJ Document 35-1 Filed 04/05/16 Page 14 of 20
Case 1:15-cv-02154-SCJ Document 35-1 Filed 04/05/16 Page 15 of 20
Case 1:15-cv-02154-SCJ Document 35-1 Filed 04/05/16 Page 16 of 20
Case 1:15-cv-02154-SCJ Document 35-1 Filed 04/05/16 Page 17 of 20
Case 1:15-cv-02154-SCJ Document 35-1 Filed 04/05/16 Page 18 of 20
Case 1:15-cv-02154-SCJ Document 35-1 Filed 04/05/16 Page 19 of 20
Case 1:15-cv-02154-SCJ Document 35-1 Filed 04/05/16 Page 20 of 20
